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                                                                  Tuesday, 25 June, 2019 10:01:25 AM
                                                                        Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
              vs.                         )      Case No. 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

          THE UNITED STATES OF AMERICA’S MOTION TO EXCLUDE
             IMPROPER OPINION TESTIMONY REGARDING THE
              DEFENDANT’S MENTAL HEALTH AS A TEENAGER

       NOW COMES the United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan Freres, Assistant

United States Attorneys, and Department of Justice Trial Attorney James B. Nelson, and

respectfully files this motion to preclude evidence of the defendant’s mental health

status from the penalty phase. The bases for the United States’ motion follow.

                              FACTUAL BACKGROUND

       On March 18, 2019, the defendant submitted a 26-page letter to the United States

Attorney for the Central District of Illinois and the Acting Chief of the Department of

Justice’s Capital Case Section. That letter was accompanied by 277 pages of medical

records. This letter includes unsupported allegations that the defendant suffered from

mental health issues as a child and teenager, which carried into his adult years. Id. It

also contains allegations of the mental health defense that the defendant has since

withdrawn. (R.317).
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                                      ARGUMENT

1. Rule 12.2 Prohibits the Defendant From Presenting Expert Testimony with Regard
   to the Defendant’s Mental Health

       Rule 12.2(b)(2) requires advanced written notice if the defendant intends to

present expert testimony with regard to a “mental disease or defect or any other mental

condition” during the penalty phase of a capital trial. As the Court noted at the

conclusion of the April 30, 2019, hearing, there is no Rule 12.2 notice on the record in

this case. By withdrawing his Rule 12.2 notice, and refusing to be examined by the

United States’ experts, and withdrawing his notice, the defendant has prevented the

United States from gathering the evidence necessary to rebut the unsupported

allegations in the March 18, 2019, letter. As such, the defendant should be precluded

from introducing evidence of unsupported allegations of the defendant’s mental health

issues as a teenager through any expert witness during the penalty phase.

2. FRE 701 Prohibits the Defendant from Presenting Lay Opinion Testimony with
   Regard to the Defendant’s Mental Health

       Lay witnesses may give opinion testimony, so long as their opinion is “not based

on scientific, technical, or other specialized knowledge within the scope of Rule 702.”

FRE 701. In other contexts, the defendant has moved the Court in limine to preclude lay

witnesses from rendering opinions as to the defendant’s mental condition at various

points in time. (R.239, at 29-31, 33-37). If such witnesses exist, the defendant may call

lay witnesses to testify about their observations of the defendant’s behavior, but they

should not be permitted to speculate about the inner workings of the defendant’s mind

or any potential diagnoses. (R.324, at 12, 14-16). This is particularly true given that the

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defendant’s withdrawal of his Rule 12.2 notice will prevent the United States from

meaningfully rebutting any such speculation with regard to diagnosis.

      WHEREFORE the United States respectfully requests that the Court prohibit the

defendant from introducing improper opinion testimony regarding the defendant’s

mental health as a teenager.

      Respectfully submitted,

      JOHN C. MILHISER
      UNITED STATES ATTORNEY

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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to counsel of record.



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